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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                     STATESBORO DIVISION

JEFFERY JACKSON,

     Movant,
V.                                           Case No. CV614-052     /
                                                   CR612-018        TT   eb
UNITED STATES OF AMERICA,

     Respondent.

                              ORDER

     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to

which no objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

     SO ORDERED this_rday of              L  c~         1   2014.



                           B' AVAfl1EMP1ELD            /
                           UNITED  STATES DISTRICT/(JDOE
                            SOUTHERN DISTRICT OF GEORG,
